                                                                                Case 2:16-cv-02924-JCM-DJA Document 68
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                                                                                & Diageo Americas Inc.
                                                                            8

                                                                            9                               UNITED STATES DISTRICT COURT

                                                                           10                                       DISTRICT OF NEVADA
HOWARD & HOWARD ATTORNEYS, PLLC




                                                                           11    COUNTER WRAPS INTERNATIONAL
                                                                                 INC d/b/a DC MEDIA AND MARKETING,                  Case No. 2:16-cv-02924-JCM-DJA
                                                                           12    a Nevada corporation,
                                  3800 Howard Hughes Parkway, Suite 1000

                                    (702) 257-1483 FAX: (702) 567-1568




                                                                           13          Plaintiff,                                   STIPULATION FOR EXTENSION OF
                                          Las Vegas, Nevada 89169




                                                                                                                                    TIME TO FILE THE JOINT PRETRIAL
                                                                           14    vs.                                                ORDER (THIRD REQUEST)
                                                                           15    DIAGEO NORTH AMERICA INC., a
                                                                                 Connecticut corporation; DIAGEO
                                                                           16    AMERICAS INC., a Delaware corporation;
                                                                                 and DOES I through X;
                                                                           17
                                                                                       Defendants.
                                                                           18

                                                                           19          Pursuant to Local Rules 7-1, 26-1, and 26-4, Plaintiff Counter Wraps International Inc.
                                                                           20   d/b/a DC Media and Marketing (“Plaintiff”) and Defendants Diageo North America, Inc. and
                                                                           21   Diageo Americas Inc. (collectively “Defendants” and, together with Plaintiff, the “Parties”) hereby
                                                                           22   respectfully submit this Joint Application for an additional 14 days to file the Joint Pretrial Order,
                                                                           23   until November 17, 2020:
                                                                           24          An extension of time is necessary because this case involves over 40,000 pages of
                                                                           25   documents that have to be reviewed for potential trial exhibits, and the Covid-19 pandemic and
                                                                           26   resulting stay at home orders have presented difficulties for defense counsel to review those
                                                                           27   documents.
                                                                           28                                                Page 1 of 2
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                                                                            1            The deadline for filing of the Joint Pretrial Order has been extended on two prior occasion

                                                                            2   (ECF 62 & 65).

                                                                            3

                                                                            4    Dated this 4th day of November, 2020              Dated this 4th day of November, 2020

                                                                            5          HOWARD & HOWARD ATTORNEYS PLLC                  RANDOLPH LAW FIRM

                                                                            6    By:      /s/ Robert Hernquist                     By:     /s/ Paul Derby
                                                                                       Robert Hernquist, Nevada Bar No. 10616            Taylor Randolph, Nevada Bar No. 10194
                                                                            7
                                                                                       Jennifer Lloyd, Nevada Bar No. 9617
                                                                                                                                                   — AND —
                                                                            8    Attorneys for Defendants Diageo North
                                                                                 America Inc.& Diageo Americas Inc.                      SKIERMONT DERBY LLP
                                                                            9
                                                                                                                                         Paul Derby (admitted pro hac vice)
                                                                           10                                                            John O’Kane IV (admitted pro hac vice)
HOWARD & HOWARD ATTORNEYS, PLLC




                                                                           11                                                      Attorneys for Plaintiff Counter Wraps
                                                                                                                                   International Inc. d/b/a DC Media and
                                                                           12                                                      Marketing
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                                                                           13
                                          Las Vegas, Nevada 89169




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                                                                           15   IT IS SO ORDERED
                                                                           16
                                                                                                                                    _________________________________
                                                                                                                               _____________________________________
                                                                           17                                                       UNITED STATES DISTRICT JUDGE
                                                                                                                               UNITED STATES MAGISTRATE JUDGE
                                                                           18                                                      DATE:________________________
                                                                                                                               DATED: November 5, 2020
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